Case 1:03-Cr-10327-DPW Document 1 Filed 09/12/03 Page 1 0f 1 `i<\

AO 91 [Rev_ 5!8:5`) Criminal Complalnt

limited _States Yisi'rir:f Tlmrf

____`______________ mSTRlC.I.DF MAssAcHusETTs

UN|TED STATES OF AMER|CA
V.

Wil_l_lAM F. sRYMER CRIMINAL COMPLAINT

cAsE NuMaEa: C)§_'y |‘135 Cf%\$

(Name and Address of Defendant)

|. the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. Dn or about_____ _ _.F'\UGUST 28, 2003 in NORFOLl-t_` munty, in the

___________ _ D_istrictof N|ASSACHUSE`|'FS defendant(s) did mack statuth Languageofoffensel

by force and violence and by intimidation, take from the person and presence of employees of the Telephene Werl<ers Credlt
Union, money in the amount of $5 756. 00 more or less belonging to and in the csre, custody, contro|. management and
possession of the said Telephone Workers C.redlt Union, the deposits of which were then federally insured, and in committing
the aforesaid effense, W|LL|AM F. BRY|V|ER, did assault and put in jeopardy the lives of other persons by the use of s

dangerous weaponl namely. a firearm.

in violation of Title 18 Llnited States Code. Section(s) _ _ .'2113(&\)1'-"5\(¢1|)Ell`ld 2

| further state that l am a(n)____`________ _______§_l§=_'__l§_§lAL AGENT , FB| and that this complaint is based on the following
Oliicial Tit|o t

facts:
SEE ATTACHED AFF|DAV|T OF FE| SF’EC|AL AGENT DAV|D |V|AD|GAN

Continued on the attached sheet and made a part hereof:1_j Yes |_ i No

;i§l"aturegfcnmp|:§m_|:' ‘~~-_-_\._

Sworn to before me and subscribed in my presence.

?. /z »- o 3 __ at

CHARLES B. SWARTWOOD |||
UN|TED STATES N|AG|STRATE JUDGE

Name_ 81 T|_i|e_ of Jud|cial Ciriicor

 

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